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                         No. 22-11707
              UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT
                       ________________
PAUL A. EKNES-TUCKER, Rev., BRIANNA BOE, individually and on behalf
of her minor son, Michael Boe, JAMES ZOE, individually and on behalf of
 his minor son, Zachary Zoe, MEGAN POE, individually and on behalf of
her minor daughter, Allison Poe, KATHY NOE, et al., individually and on
               behalf of her minor son, Christopher Noe,
                                                 Plaintiffs-Appellees,
                                    v.
     GOVERNOR OF THE STATE OF ALABAMA, ATTORNEY GENERAL,
  STATE OF ALABAMA, DISTRICT ATTORNEY FOR MONTGOMERY COUNTY,
             DISTRICT ATTORNEY FOR CULLMAN COUNTY,
             DISTRICT ATTORNEY FOR LEE COUNTY, et al.,
                                            Defendants-Appellants.
                            ________________
            On Appeal from the United States District Court
    for the Middle District of Alabama, No. 2:22-cv-00184-LCB-SRW
            The Honorable Liles C. Burke, U.S. District Judge
                            ________________

      PRIVATE PLAINTIFFS-APPELLEES’ RESPONSE TO
       DEFENDANTS-APPELLANTS’ MOTION TO STAY
               PRELIMINARY INJUNCTION
                     ________________
   Brent P. Ray                         Melody H. Eagan
   Abigail H. Terry                     Jeffrey P. Doss
   KING & SPALDING LLP                  Amie A. Vague
   110 North Wacker Drive               LIGHTFOOT FRANKLIN
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   Chicago, IL 60606                    400 20th Street North
   (312) 995-6333                       Birmingham, AL 35203
                                        (205) 581-0700
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   David Mattern                        Christopher F. Stoll
   KING & SPALDING LLP                  NATIONAL CENTER FOR LESBIAN
   1700 Pennsylvania Avenue NW          RIGHTS
   Washington, DC 20006                 870 Market Street, Ste 370
   (202) 737-0500                       San Francisco, CA 94102
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   Adam Reinke                          Scott D. McCoy
   KING & SPALDING LLP                  SOUTHERN POVERTY LAW CENTER
   1180 Peachtree Street NE             2 South Biscayne Blvd.
   Atlanta, GA 30309                    Suite 3750
   (404) 572-4600                       Miami, FL 33131
                                        (334) 224-4309

                                        Sarah Warbelow
                                        Cynthia Cheng-Wun Weaver
                                        HUMAN RIGHTS CAMPAIGN
                                        FOUNDATION
                                        1640 Rhode Island Ave NW
                                        Washington, DC 20036
                                        (202) 527-3669

                    Counsel for Plaintiffs-Appellees
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           CERTIFICATE OF INTERESTED PERSONS
          AND CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh

Circuit Rules 26.1-1 through 26.1-3, Appellees / Plaintiffs Paul A. Eknes-

Tucker; Brianna Boe (individually and on behalf of her minor son,

Michael Boe); James Zoe (individually and on behalf of his minor son,

Zachary Zoe); Megan Poe (individually and on behalf of her minor

daughter, Allison Poe); Kathy Noe (individually and on behalf of her

minor son, Christopher Noe); Jane Moe; and Rachel Zoe state that

(1) they are individuals and, therefore, have nothing to disclose pursuant

to Eleventh Circuit Rule 26.2(a); and (2) the following amended list of

persons and parties may have an interest in the outcome of this case:

     1.    Abdul-Latif, Hussein – Amicus Curiae;

     2.    Academic Pediatric Association – Amicus Curiae;

     3.    Advancing LGBTQ Equality – Amicus Curiae;

     4.    Alabama Center for Law and Liberty – Amicus Curiae;

     5.    Alabama Chapter of the American Academy of Pediatrics –

           Amicus Curiae;

     6.    Alaska, State of – Amicus Curiae;

     7.    Alscott, Anne – Amicus Curiae;


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    8.    America First Legal Foundation – Amicus Curiae;

    9.    American Academy of Child and Adolescent Psychiatry –

          Amicus Curiae;

    10.   American Academy of Family Physicians – Amicus Curiae;

    11.   American Academy of Nursing – Amicus Curiae;

    12.   American Academy of Pediatrics – Amicus Curiae;

    13.   American Association of Physicians for Human Rights, Inc. –

          Amicus Curiae;

    14.   American College of Obstetricians and Gynecologists –

          Amicus Curiae;

    15.   American College of Osteopathic Pediatricians – Amicus

          Curiae;

    16.   American College of Physicians – Amicus Curiae;

    17.   American Medical Association – Amicus Curiae;

    18.   American Pediatric Society – Amicus Curiae;

    19.   American Psychiatric Association – Amicus Curiae;

    20.   Andersen, Alison L. – Counsel for Amici Curiae;

    21.   Anderson, Tom – Defendant;

    22.   Arizona, State of – Amicus Curiae;



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    23.   Arkansas, State of – Amicus Curiae;

    24.   Arnold, Stephanie York, Rev. – Amicus Curiae;

    25.   Association of American Medical Colleges – Amicus Curiae;

    26.   Association of Medical School Pediatric Department Chairs –

          Amicus Curiae;

    27.   Austin, Heather, Ph.D., previously proceeding under

          pseudonym Jane Moe, Ph.D. – Plaintiff;

    28.   Australian Professional Association for Trans Health, The –

          Amicus Curiae;

    29.   Baia, Elizabeth – Counsel for Amici Curiae;

    30.   Bailey, Daryl D. – Defendant;

    31.   Barday, Shireen A. – Counsel for Amicus Curiae;

    32.   Barham, Richard, Rev. – Amicus Curiae;

    33.   Barnes, Brian W. – Counsel for Defendants;

    34.   Barnhart, Dr. David L., Jr., Rev. – Amicus Curiae;

    35.   Becker, Laura – Amicus Curiae;

    36.   Beninati, Nancy – Counsel for Amici Curiae;

    37.   Blakemore, Robin, Rev. – Amicus Curiae;

    38.   Blaylock, C. Wilson – Defendant;



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    39.   Boccuzzi, Camrine D., Jr. – Counsel for Amici Curiae;

    40.   Boe, Brianna (pseudonym) – Plaintiff;

    41.   Boergers, Kathleen – Counsel for Amici Curiae;

    42.   Bonta, Rob – Counsel for Amici Curiae;

    43.   Boulware, Susan D. – Amicus Curiae;

    44.   Bowdre, Alexander Barrett – Counsel for Defendants;

    45.   Bridges, Dr. Rebecca L.– Amicus Curiae;

    46.   Bronni, Nicholas J. – Counsel for Amici Curiae;

    47.   Broyles, Vernadette R. – Counsel for Amici Curiae;

    48.   Bryan, Chad W. – U.S. Magistrate Judge;

    49.   Bundesverband Trans E.V. – Amicus Curiae;

    50.   Burke, Liles C. – U.S. District Court Judge;

    51.   Burleigh, Billy – Amicus Curiae;

    52.   C.G. (pseudonym) – Amicus Curiae;

    53.   California, State of – Amicus Curiae;

    54.   Cantrell, Michael A. – Counsel for Amici Curiae;

    55.   Carr, Danny – Defendant;

    56.   Central Conference of American Rabbis – Amicus Curiae;

    57.   Cheek, Jason R. – Counsel for Intervenor-Plaintiff;



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    58.   Child & Parental Rights Campaign, Inc. – Counsel for

          Amicus Curiae;

    59.   Clark, Matthew J. – Counsel for Amicus Curiae;

    60.   Clarke, Kristen, U.S. Department of Justice, Civil Rights

          Division – Counsel for Intervenor-Appellee United States;

    61.   Coe, Brian (pseudonym) – Amicus Curiae;

    62.   Coe, Laura (pseudonym) – Amicus Curiae;

    63.   Colavecchio, J.D. – Counsel for Amici Curiae;

    64.   Colorado, State of – Amicus Curiae;

    65.   Connecticut, State of – Amicus Curiae;

    66.   Conrady, Julie, Rev. – Amicus Curiae;

    67.   Cooper, Erica – Amicus Curiae;

    68.   Davies, Andrew Rhys – Counsel for Amici Curiae;

    69.   Davis, James William – Counsel for Defendants;

    70.   Delaware, State of – Amicus Curiae;

    71.   Dermody, Eliza – Counsel for Intervenor-Plaintiff;

    72.   Dingus, Jaimie – Amicus Curiae;

    73.   District of Columbia – Amicus Curiae;

    74.   Doss, Jeffrey P. – Counsel for Plaintiffs;



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    75.   Eagan, Melody Hurdle – Counsel for Plaintiffs;

    76.   Eknes-Tucker, Paul A. – Plaintiff;

    77.   Elgart, Allison – Counsel for Amici Curiae;

    78.   Elias, Nimrod Pitsker – Counsel for Amici Curiae;

    79.   Endocrine Society, The – Amicus Curiae;

    80.   Escalona, Elizabeth Prim Formby – Counsel for Intervenor-

          Plaintiff;

    81.   Ethics and Public Policy Center – Amicus Curiae;

    82.   Federacion Estatal de Lesbianas, Gais, Trans, Bisexuales,

          Intersexuales y Mas – Amicus Curiae;

    83.   Finney, Johnny R. (II) – Amicus Curiae;

    84.   Foster, Carolyn – Amicus Curiae;

    85.   Fuller, David – Amicus Curiae;

    86.   Fundacion Colectivo Hombres XX, AC – Amicus Curiae;

    87.   G.C. (pseudonym) – Amicus Curiae;

    88.   Genau, Joseph – Amicus Curiae;

    89.   George, Renu R. – Amicus Curiae;

    90.   Georgia, State of – Amicus Curiae;

    91.   Gibson, Henry N. – Amicus Curiae;



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    92.   Global Justice Institute – Amicus Curiae;

    93.   Hamilton, Gene – Counsel for Amicus Curiae;

    94.   Hamilton-Poore, Terry – Amicus Curiae;

    95.   Hasson, Mary Rice – Amicus Curiae;

    96.   Hawaii, State of – Amicus Curiae;

    97.   Health Professionals Advancing LGBTQ Equality – Amicus

          Curiae;

    98.   Hecker, Elizabeth P. – Appellate Counsel for Intervenor-

          Plaintiff;

    99.   Henkin, Steven – Amicus Curiae;

    100. Hopkins, C. Lynn – Amicus Curiae;

    101. Hutchinson, Laura – Amicus Curiae;

    102. Illinois, State of – Amicus Curiae;

    103. Indiana, State of – Amicus Curiae;

    104. Isaacson, Eric Alan – Counsel for Amici Curiae;

    105. Isasi, William – Counsel for Amici Curiae;

    106. Isner, Shane – Amicus Curiae;

    107. Ivey, Kay – Defendant;

    108. Jacobs, Dylan L. – Counsel for Amici Curiae;



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     109. Jimmerson, Dr. Ellin – Amicus Curiae;

     110. Kamody, Rebecca – Amicus Curiae;

     111. Kerschner, Helena – Amicus Curiae;

     112. Koe, Rachel (pseudonym) – Plaintiff;

     113. Krishna, Praveen S. – Appellate Counsel Intervenor-

           Plaintiff;

     114. Kuper, Laura – Amicus Curiae;

     115. LGBT+ Denmark – Amicus Curiae;

     116. LaCour, Edmund G., Jr. – Counsel for Defendants;

     117. Lamar-Hart, Cynthia G. – Amicus Curiae;

     118. Lannin, Cortlin H. – Counsel for Amici Curiae;

     119. Lanosa, Michael – Counsel for Amici Curiae;

     120. Lareau, Alyssa C. – Counsel for Intervenor-Plaintiff;

     121. Levi, Jennifer L. – Counsel for Plaintiffs;

     122. Loe, Tom (pseudonym) – Amicus Curiae;

     123. Loe, Sarah (pseudonym) – Amicus Curiae;

     124. Loper, Helene, Dr. – Amicus Curiae;

     125. Louisiana, State of – Amicus Curiae;

     126. Maine, State of – Amicus Curiae;



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     127. Marshall, Margaret L. – Counsel for Intervenor-Plaintiff;

     128. Marshall, Steve – Defendant;

     129. Martinez, Gabriel – Counsel for Amici Curiae;

     130. Martinez, Michael Rodriguez – Counsel for Amici Curiae;

     131. Maryland, State of – Amicus Curiae;

     132. Massachusetts, State of – Amicus Curiae;

     133. Mattern, David P. – Counsel for Plaintiffs;

     134. McAlister, Mary E. – Counsel for Amici Curiae;

     135. McCoy, Scott D. – Counsel for Plaintiffs;

     136. McNamara, Meredithe – Amicus Curiae;

     137. Men of Reform Judaism – Amicus Curiae;

     138. Mills, Christopher Ernest – Counsel for Defendants;

     139. Minnesota, State of – Amicus Curiae;

     140. Mississippi, State of – Amicus Curiae;

     141. Missouri, State of – Amicus Curiae;

     142. Mitchell, Jonathan F. – Counsel for Amicus Curiae;

     143. Moe, Jane (pseudonym) – Plaintiff;

     144. Montag, Coty Rae – Counsel for Intervenor-Plaintiff;

     145. Montana, State of – Amicus Curiae;



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     146. Morrison, Rachel N. – Counsel for Amicus Curiae;

     147. National Association of Pediatric Nurse Practitioners –

           Amicus Curiae;

     148. Nebraska, State of – Amicus Curiae;

     149. Nevada, State of – Amicus Curiae;

     150. New Jersey, State of – Amicus Curiae;

     151. New Mexico, State of - – Amicus Curiae;

     152. New York, State of – Amicus Curiae;

     153. Newton, Nicole – Amicus Curiae;

     154. Noe, Kathy (pseudonym) – Plaintiff;

     155. North Carolina, State of – Amicus Curiae;

     156. Norwegian Organisation for Sexual and Gender Diversity,

           The – Amicus Curiae;

     157. Oklahoma, State of – Amicus Curiae;

     158. Oladeinbo, Gilbert Olusengun – Counsel for Plaintiffs;

     159. Olzeski, Christy – Amicus Curiae;

     160. Oregon, State of – Amicus Curiae;

     161. Ormand, Justin L. – Counsel for Amici Curiae;

     162. Orr, Asaf – Former Counsel for Plaintiffs;



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     163. Patterson, Peter A. – Counsel for Defendants;

     164. Pediatric Endocrine Society – Amicus Curiae;

     165. Pennsylvania, State of – Amicus Curiae;

     166. Perigoe, Kelly – Counsel for Plaintiffs;

     167. Peterson, Misty L. – Counsel for Plaintiffs;

     168. Poe, Megan (pseudonym) – Plaintiff;

     169. Powers, John Michael – Counsel for Intervenor-Plaintiff;

     170. Pratt, James Andrew – Counsel for Plaintiffs;

     171. Professional Association for Transgender Health Aotearoa

           New Zealand, The – Amicus Curiae;

     172. Ragsdale, Barry Alan – Counsel for Amici Curiae;

     173. Ramer, John D. – Counsel for Defendants;

     174. Ray, Brent P. – Counsel for Plaintiffs;

     175. Reinke, Adam – Counsel for Plaintiffs;

     176. Renner, Steven S. – Amicus Curiae;

     177. Reynolds, Laura – Amicus Curiae;

     178. Rhode Island, State of – Amicus Curiae;

     179. Riehl, Christina – Counsel for Amici Curiae;




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     180. Robin-Vergeer, Bonnie – Appellate Counsel for Intervenor-

           Plaintiff;

     181. Roe, Melissa (pseudonym) – Plaintiff;

     182. Roe, Rebecca (pseudonym) – Plaintiff;

     183. Rothbauer, Chris – Amicus Curiae;

     184. Rutledge, Leslie – Counsel for Amici Curiae;

     185. Saei, Joseph (Yusuf) – Counsel for Plaintiffs;

     186. Sanders, Jennifer – Amicus Curiae;

     187. Schwabauer, Barbara – Appellate Counsel Intervenor-

           Plaintiff;

     188. Seiss, Benjamin Matthew – Counsel for Defendants;

     189. Seta Ry/Seta Rf/Seta Lghtiq Rights in Finland – Amicus

           Curiae;

     190. Shortnacy, Michael B. – Counsel for Plaintiffs;

     191. Smalts, Laura Perry – Amicus Curiae;

     192. Smith, John – Amicus Curiae;

     193. Societies for Pediatric Urology – Amicus Curiae;

     194. Society of Adolescent Health and Medicine – Amicus Curiae;

     195. Society of Pediatric Nurses – Amicus Curiae;



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  Paul Eknes-Tucker v. Governor of the State of Alabama, No. 22-11707

     196. Society for Pediatric Research – Amicus Curiae;

     197. Soe, Melissa (pseudonym) – Amicus Curiae;

     198. Soto, Diego Armando – Counsel for Plaintiffs;

     199. South Carolina, State of – Amicus Curiae;

     200. Southeast Conference of the United Church of Christ –

           Amicus Curiae;

     201. Stewart, Sandra Jean – Counsel for Intervenor-Plaintiffs;

     202. Stoll, Christopher F. – Counsel for Plaintiffs;

     203. Stone, Jessica Lynn – Counsel for Plaintiffs;

     204. Stonewall UK – Amicus Curiae;

     205. Strickland, Kevin L. – Amicus Curiae;

     206. Swedish Federation of Lesbian, Gay, Bisexual, Transgender,

           Queer and Intersex Rights, The – Amicus Curiae;

     207. Szilagyi, Nathalie – Amicus Curiae;

     208. Terry, Abigail Hoverman – Counsel for Plaintiffs;

     209. Texas, State of – Amicus Curiae;

     210. Thomason, Beth – Amicus Curiae;

     211. Thompson, David H. – Counsel for Defendants;

     212. Thornton, Joel H. – Counsel for Amici Curiae;



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     213. Toyama, Kaitlin – Counsel for Intervenor-Plaintiff;

     214. Trevor Project, The – Amicus Curiae;

     215. Union for Reform Judaism – Amicus Curiae;

     216. Unitarian Universalist Association – Amicus Curiae;

     217. United States of America – Intervenor-Plaintiff;

     218. Universal Fellowship of Metropolitan Community Churches

           – Amicus Curiae;

     219. Utah, State of – Amicus Curiae;

     220. Vague, Amie A. – Counsel for Plaintiffs;

     221. Vance, Robert S. (III) – Counsel for Amici Curiae;

     222. Ventiere, Jessica – Defendant;

     223. Vermont, State of – Amicus Curiae;

     224. Veta, D. Jean – Counsel for Amici Curiae;

     225. Voe, April (pseudonym) – Plaintiff;

     226. Voe, Robert (pseudonym) – Plaintiff;

     227. Voigts, Anne M. – Counsel for Plaintiffs;

     228. Wadsworth, Stephen D. – Counsel for Intervenor-Plaintiff;

     229. Walker, Susan Russ – Magistrate Judge;

     230. Warbelow, Sarah – Counsel for Plaintiffs;



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  Paul Eknes-Tucker v. Governor of the State of Alabama, No. 22-11707

     231. Washington, State of – Amicus Curiae;

     232. Weaver, Cynthia Cheng-Wun – Counsel for Plaintiffs;

     233. Weaver, Lily – Counsel for Amici Curiae;

     234. Weaver, Susan Kay – Counsel for Amici Curiae;

     235. Wenck, Julia H. – Counsel for Amici Curiae;

     236. West Virginia, State of – Amicus Curiae;

     237. Wilkerson, Mark Douglas – Counsel for Amici Curiae;

     238. Williams, Renee – Counsel for Intervenor-Plaintiff;

     239. Wilson, Thomas Alexander – Counsel for Defendants;

     240. Women of Reform Judaism – Amicus Curiae;

     241. Wood, Kimberly – Amicus Curiae;

     242. Woodke, Lane Hines – Counsel for Intervenor-Plaintiff;

     243. World Professional Association for Transgender Health –

           Amicus Curiae;

     244. Zelbo, Howard S. – Counsel for Amici

     245. Zoe, James (pseudonym) – Plaintiff.

     Date: December 1, 2023

                                        s/ Jeffrey P. Doss
                                        Jeffrey P. Doss
                                        Counsel for Plaintiffs-Appellees


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                            INTRODUCTION

      On September 11, 2023, Plaintiffs filed their Petition for Rehearing

En Banc, explaining why this Court’s decision to vacate the preliminary

injunction issued by the District Court conflicts with prior decisions of

the Supreme Court and this Circuit. Defendants acknowledge that, under

the Federal Rules of Appellate Procedure, Plaintiffs’ filing of that petition

automatically stays issuance of this Court’s mandate until such time as

this Court completes its consideration of the petition. In addition, this

Court has issued an order withholding issuance of the mandate in

Defendants’ appeal. See Eknes-Tucker v. Governor of the State of

Alabama, No. 22-1107, Doc. 132 (11th Cir. Sept. 15, 2023). Nonetheless,

Defendants moved the District Court to stay the preliminary injunction

while Plaintiffs’ motion for rehearing en banc is pending. See Defs’ Time-

Sensitive Mot. To Stay Preliminary Injunction, Doc. 313. The District

Court rejected that request, explaining that it “is not obliged to rush the

judicial process for the State’s benefit” and stating that the preliminary

injunction will remain in effect “unless and until” this Court issues its

mandate. Order Denying Defs’ Mot. for Stay, Doc. 368 at 5; see Tr. 40, 42-

44.


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     The Federal Rules of Appellate Procedure establish a clear timeline

for when appellate decisions become effective. When an appeals court

panel decision is issued, the Federal Rules provide that the mandate will

issue “7 days after the time to file a petition for rehearing expires, or 7

days after entry of an order denying a timely petition for panel rehearing,

petition for rehearing en banc, or motion for stay of mandate, whichever

is later.” Fed. R. App. P. 41(b). The reason for this automatic delay in

issuing the mandate is clear: “[u]nless otherwise expressly provided, the

effect of granting a rehearing en banc is to vacate the panel opinion and

the corresponding judgment.” 11th Cir. R. 35-10. The automatic delay

ensures that the district court does not take action in reliance on the

panel opinion while a request for rehearing en banc is pending and

further review by the Court of Appeals remains possible. Defendants

sought to circumvent that process by requesting that the lower court

apply this Court’s decision prematurely—while Plaintiffs’ petition for

rehearing remains pending and despite this Court’s express order

withholding the mandate.

     Defendants’ motion was correctly denied by the District Court, and

now they request the same of this Court. Repeating the same arguments



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they made before the lower court, Defendants still fail to cite a single

authority where either this Circuit or its sister circuits have granted a

motion to stay pending en banc review of a preliminary injunction. Nor

do Defendants point to any Court of Appeals decision that has required

enforcement of a panel’s judgment in the same case prior to the issuance

of its mandate and while that decision was pending en banc review. The

lack of authority to support Defendants’ position is telling. To grant such

premature relief would disrupt the orderly resolution of appeals and

invite conflicting rulings in the district and appellate court before en banc

consideration is concluded.

     Defendants ask this Court to depart from the ordinary procedures

applicable to each of the more than 50,000 appeals that are filed each

year in the federal court system1 and immediately provide them the relief

they seek in their appeal even before that appeal is concluded. This Court

should decline this invitation, particularly where Defendants offer no

reason why the particular facts and circumstances of this case require an

exception from procedures that have governed appellate review in the


  1 See United States Courts, Appellate Courts and Cases – Journalist’s

Guide,       available      at       https://www.uscourts.gov/statistics-
reports/appellate-courts-and-cases-journalists-guide.

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federal system for many decades. By contrast, Plaintiffs would suffer

severe and irreparable harm if the ordinary process of appellate review

is circumvented in the manner Defendants suggest. As the District Court

found in granting the preliminary injunction, the Minor Plaintiffs will

suffer severe harm if they are deprived of established treatments for

gender dysphoria. Those same considerations weigh strongly against the

Court granting the extraordinary relief Defendants seek, which would

deprive Plaintiffs of procedures and protections that have been developed

to ensure that all litigants are guaranteed fair treatment and that the

appellate review process proceeds in an orderly manner. The Court

should deny Defendants’ motion and permit the appellate process to

proceed as normal.

                              ARGUMENT

I.   Defendants’ request for a stay disturbs the orderly process
     of appellate review and undermines principles of judicial
     economy.

     When an appeals court panel decision is issued, the Federal Rules

provide that the mandate will issue “7 days after the time to file a petition

for rehearing expires, or 7 days after entry of an order denying a timely

petition for panel rehearing, petition for rehearing en banc, or motion for

stay of mandate, whichever is later.” Fed. R. App. P. 41(b). Despite these

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clear procedures, Defendants seek to bypass the Federal Rules and obtain

the relief that their appeal seeks immediately, before the appellate

process is concluded. Their motion offers no legitimate reason for the

Court to depart from the rules in this manner. Defendants cite to the fact

that a published panel decision is precedential even before a mandate is

issued, but they offer no reason why the precedential effect of a decision

should be used to circumvent the normal process of appellate review and

require immediate enforcement of the panel’s judgment before this

Court’s review of the appeal has concluded.

     The principal authority on which Defendants rely, Martin v.

Singletary, 965 F.2d 944, 945 n.1 (11th Cir. 1992), does not assist them.

In that case, which concerned a habeas corpus petition, this Court relied

on its precedential decision in Johnson v. Singletary, 938 F.2d 1166 (11th

Cir. 1991), an appeal of a habeas petition filed by a different prisoner. At

the time that Martin was before this Court, a petition for en banc review

was pending in Johnson and the mandate had not yet issued. The Martin

court held that although the mandate in the previous appeal had not

issued, this Court’s earlier decision was nonetheless precedential for

purposes of the later appeal. See id.



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     Martin does not support Defendants’ position. Unlike Martin, this

case does not involve the application of an appellate decision as precedent

in a separate, subsequent case. To the contrary, Defendants ask this

Court to provide the relief that is sought in their appeal in the same case,

and to do so before appellate review is completed. Doing so would both

thwart the intent of the Federal Rules and undermine considerations of

judicial economy.

     Under Defendants’ proposal, any litigant who succeeds in obtaining

a decision from an appellate panel vacating a preliminary injunction may

then ignore the Federal Rules and their provisions concerning petitions

for rehearing en banc and simply return to the panel to demand

immediate relief. Defendants argue that to wait for the conclusion of the

appellate review process would lead to “absurdities” because they are

“unable to take advantage of the precedent [they] had fought for” while

other courts in this Circuit remain at liberty to apply this panel’s ruling.

Defendants-Appellants Mot. at 9. But it is Defendants’ proposal that

would lead to “absurdities” because if rehearing en banc is granted and

the panel decision is automatically vacated, see 11th Cir. R. 35-10, the

party that originally obtained the injunction would then have the right



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to demand that the injunction be restored while en banc reconsideration

proceeds. The Federal Rules provide the clear process outlined above

precisely to avoid such dueling back-and-forth motions while a petition

for rehearing en banc remains pending. The Court should reject

Defendants’ plea to replace the Federal Rules with this new norm, with

the attendant proliferation of needless motion practice on lower and

appellate court dockets.

     The other cases on which Defendants rely also do not support their

position. In Koe v. Carlson, No. 1:23-cv-2904-SEG, Doc. 119 (N.D. Ga.

Sept. 5, 2023), the court granted a stay pending appeal, as specifically

authorized by Federal Rule of Appellate Procedure 8, before any

meaningful appellate review of its preliminary injunction had

commenced. And in Doe v. Thornbury, No. 23-cv-230, Doc. 79 (W.D. Ky.

July 14, 2023), the court likewise granted a stay at the outset of the

appeal in response to an order from the Sixth Circuit requiring a stay

pending appeal in a similar case. In this case, no stay pending appeal was

sought or obtained at the outset of Defendants’ appeal.

     Defendants argue that because the Koe and Thornbury stays were

ordered before a mandate was issued, they can similarly seek a stay here.



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This ignores the clear difference between the procedurally proper Fed.

App. R. 8 motions in Koe and Thornbury and the belated motion for a stay

that Defendants have filed after the disposition of their appeal and before

the mandate issues. Defendants should not be permitted to seek a stay

at the eleventh hour in order to sidestep the timeline for issuance of the

mandate provided in the Federal Rules.

II.   Defendants have failed to establish that they will suffer
      irreparable harm absent a stay of an injunction that has
      been in place for over a year.

      Defendants’ motion also fails on its merits. With respect to

likelihood of success on the merits, Plaintiffs’ Petition for Rehearing En

Banc carefully explains why the panel’s decision conflicts with Supreme

Court and Eleventh Circuit precedent and should be reconsidered.

Defendants’ implication that the petition was filed solely for delay or

other improper purposes is utterly baseless. Indeed, both Defendants and

the panel acknowledge that this case presents constitutional issues of

“utmost importance” as it involves “the safety and well-being of the

children of Alabama.” Mot. at 1 (citing Eknes-Tucker v. Gov. of Ala., 80

F.4th 1205, 1231 (11th Cir. 2023)). Moreover, any suggestion that the




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petition was filed for purposes of delay is belied by the fact that Plaintiffs

filed it well ahead of their deadline to do so. See 11th Cir. R. 35-2.

       Furthermore, Defendants have not made the showing necessary

to establish that they would suffer irreparable harm due to any delay

that may result from this Court’s consideration of the petition for

rehearing en banc. Any such claim of harm is undermined by Defendants’

failure to seek a stay of the Court’s preliminary injunction at the outset

of their appeal. Cf. Ultracashmere House, Ltd. v. Meyer, 664 F.2d 1176,

1179 (11th Cir. 1981), overruled on another point by Baltin v. Alaron

Trading Corp., 128 F.3d 1466, 1469 n.8 (11th Cir. 1997) (affirming

district court’s denial of stay of state court proceedings under Anti-

Injunction Act considering party’s “delay in seeking a stay until the state

court had adjudicated all issues except the amount of damage”).

     The preliminary injunction has been in effect since May 2022. A

stay pending appeal “seeks to maintain the status quo pending a final

determination on the merits of the suit.” New Georgia Project v.

Raffensperger, 976 F.3d 1278, 1289 (11th Cir. 2020) (citing Ruiz v. Estelle,

650 F.2d 555, 565 (5th Cir. 1981)). A stay at this point would significantly

disrupt the status quo that has existed for over 18 months.



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     The claimed harms Defendants now assert are exactly the same

harms they asserted at the time the injunction was entered. At no point

were these harms sufficient to compel Defendants to move for a stay

pending appeal in either this Court or the District Court before this Court

issued its ruling in August of this year. Defendants’ dilatory response to

the preliminary injunction strongly undermines any of their allegations

of irreparable harm absent a stay. See Wreal, LLC v. Amazon.com, Inc.,

840 F.3d 1244, 1248 (11th Cir. 2016) (holding that even a few months of

delay in seeking a preliminary injunction “militates against a finding of

irreparable harm”). Defendants have failed to demonstrate that they will

suffer any new harm that was not present when the appeal commenced

because of the additional delay needed for en banc consideration. The

preexisting harms that Defendants have alleged are not the sort of

imminent    and   irreparable   harms     that    necessitate     the   urgent

intervention that Defendants now belatedly request. Id.

     In any event, any harm that Defendants will suffer because of their

inability to enforce the Treatment Ban while the motion for rehearing en

banc is pending are far outweighed by the irreparable harm Plaintiffs

will suffer if they are unable to receive continued medical care. Following



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a three-day evidentiary hearing on Plaintiffs’ motion for preliminary

injunction, the District Court found the record to show that “without

transitioning medications, Minor Plaintiffs will suffer severe medical

harm, including anxiety, depression, eating disorders, substance abuse,

self-harm, and suicidality,” as well as “significant deterioration in their

familial relationships and educational performance.” Eknes-Tucker v.

Marshall, 603 F. Supp. 3d 1131, 1150 (M.D. Ala. 2022). Given the gravity

of those harms, the Court should reject Defendants’ invitation to

circumvent the appellate process and should ensure that Plaintiffs retain

the benefit of procedural protections that have been established for

appellate review to proceed in a manner that promotes fairness, stability,

and certainty for all parties.




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                            CONCLUSION

     For the foregoing reasons, Plaintiffs’ respectfully request that the

Court deny Defendants’ motion.

                                        Respectfully submitted,

                                        s/Jeffrey P. Doss




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     1. This response complies with the type-volume limitation of Fed.

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     Date: December 1, 2023

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     I hereby certify that on December 1, 2023, I electronically filed the

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                                        s/ Jeffrey P. Doss
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